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AO 440 (Rev. 06/12) Summons ina Civil Action

UNITED STATES DISTRICT COURT

for the

Eastern District of Pennsylvania

GEOFF L. STONE, an

individual on behalf of himself and other individuals
similarly situated

Plaintiffs)
¥.
CITY OF LANCASTER

Civil Action No. 22S -Cr) ~— OY | SF

Defendant(s)

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address}

CITY OF LANCASTER
420 North Duke Street
Lancaster, Pennsylvania 17602

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received if) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P, 12 (a)() or @) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,

whose name and address are: W. DANIEL FEEHAN, ESQUIRE
HOLROYD GELMAN, P.C.
2005 Market Street, Suite 920
Philadelphia, PA 19103

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk

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Civil Action No,

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed, R. Civ. P. 4 (1)

This summons for (name of individual and title, if any}

was received by me on (date)

CI personally served the summons on the individual at (place)

on (date) ; or

OT left the summons at the individual’s residence or usual place of abode with frame)

,aperson of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

[ I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (ame of organization)

on (date) ; or
| returned the summons unexecuted because 3; or
Other specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Prinfed name and title

Server's address

Additional information regarding attempted service, etc:

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IN THE UNITED STATES DISTRICT COURT FOR
THE EASTERN DISTRICT OF PENNSYLVANIA

GEOFF L. STONE, an
individual on behalf of himself

and other individuals similarly situated, . Civil Action No.:
Plaintiffs : .
Vv. : COMPLAINT
CITY OF LANCASTER :
Defendant

And now, comes the Plaintiff, Geoff L. Stone, by his attorney, W. Daniel Feehan, Esquire,
and files the within Complaint on behalf of himself and all other employees similarly situated
and in support thereof avers as follows:

1. Plaintiff, Geoff L. Stone, is an adult individual residing in Lancaster,

Lancaster County, Pennsylvania.

2. The City of Lancaster ("City"), is a political subdivision organized and existing
under the laws of the Commonwealth of Pennsylvania, The City's main office is located at
120 North Duke Street, Lancaster, Lancaster County, Pennsylvania.

3. The City is an employer within the meaning of Section 203(d) of the Fair Labor
Standards Act ("Act"), 29 U.S.C. §203(d).

JURISDICTION AND VENUE

4, Jurisdiction of this action is conferred on the Court by Sections 3(s)(1)(c)
and 16(b) of the Act, 29 U.S.C, §§203(s){1)(c) and 216(b), and by the provisions of 28
U.S.C. §1337(a), relating to "any civil action or proceeding arising under any act of Congress

regulating commerce".

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5. The Court is the proper venue for this action under Section §216(b) of the Act, 29
US.C, §216(b), and by the provisions of 28 U.S.C. §1391(b), because the City is located
within this judicial district and because the actions of the City complained of herein either
occurred within this judicial district and/or had their intended affects within this judicial district.

INTRODUCTION

6. Plaintiff, Geoff L. Stone (“Plaintiff Stone”) is employed by the City as a
full-time firefighter and brings this action to recover unpaid, improperly calculated overtime

compensation, liquidated damages, attorney's fees and costs under the provisions of Sections

207, 215 and 216(b) of the Act. Plaintiff Stone also brings this action on behalf of other

employees similarly situated.

7. Plaintiff Stone and other employees similarly situated are represented, for

the purposes of collective bargaining by the Lancaster Professional Firefighters, International

Association of Fire Fighters Local 319 (“Union”).

8. The City is party to a collective bargaining agreement (“CBA”) with the

Union.

9, Plaintiff Stone is employed by the City as a fire fighter and is an
“employee” within the meaning of Section 203(e)(2)(c) of the Act, 29 U.S.C. §203(e)(2)
(c).

10, Pursuant to the CBA, Plaintiff Stone and other employees similarly

situated, receive longevity pay (“Longevity Pay”) which is calculated as a percentage of their

base pay and is paid at an hourly rate.

11, Pursuant to Article 12 of the parties’ CBA, Plaintiff Stone and other employees

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similarly situated, are eligible for the Longevity Pay beginning on January 1* of the year
following the completion of four (4) years of service with increases to the Longevity Pay

each year thereafter.

12. The Longevity Pay is in addition to base pay.

13. Longevity pay is designated as “LONGFD” on the Plaintiffs’ paystubs
and is paid to the employees every two (2) weeks.

14. Pursuant to the CBA, Plaintiff Stone and other employees similarly, are
paid two sets of overtime each pay period.

15. Pursuant to the CBA, overtime designated as “PLUSHR” on the paystubs
are overtime hours worked willingly by the Plaintiffs and is calculated as time and a half.

16. Pursuant to the CBA, overtime designated as “OT” on the paystubs is
overtime hours mandated at a fixed amount and is calculated as time and a half.

17, Atall relevant times, the City has tmproperly calculated the aforementioned

hourly overtime rates of pay by not including Longevity Pay into the aforementioned

overtime rates,

STATEMENT OF CLAIMS

18. Plaintiff hereby incorporated by reference the averments contained in
Paragraphs 1 through 17 as though fully set forth herein.
19, The City has failed to factor in the Longevity Pay when calculating the

aforementioned overtime hours, thus depriving the Plaintiffs of their full compensation.

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20. The City has failed to apply a properly calculated overtime rate to hours
of work that qualified for an overtime rate of pay, as required by Section 207(a), 29 U.S.C.
§207(a).

21, Said violations have continued from, at least, September 2020 to the present.

22. At present, there is a yet-to-be determined sum due and owing from the City to
Plaintiffs for each violation, at least, since September 2020.

23. A consent form has been signed by Plaintiff Stone to be included in this action.

Wherefore, Plaintiffs seek judgment in his favor against the City on the
following basis:

a) For those sums that are due and owing to Plaintiff Stone and those
other employees of the City similarly situated who may consent to
be part of this action;

b) For an equal amount as liquidated damages;
c) For interest thereon;

d) For reasonable attorney's fees and costs.

VN GELMAN, P.C.

N=
W. DANIEA FEEHAN, ESQUIRE
STEPHEN J. ROYD, ESQUIRE
2005 Market Street
Suite 920
Philadelphia, PA 19103
(215) 3531-06577

Dated: ( Q 23

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CONSENT
I, Geoff Stone, hereby give ray conscat to Hofroyd Gelman, PC. to pursue my claims
for overtime compensation under the Pair Labor Standards Act of 1938 against the City of

Lancaster, [tis my desire to be a party lo the civil action broughl to pursue these claims.

‘ Lk
{ Sep 202% ~

Dated GEOFF Bigke

